                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               DANVILLE DIVISION

   UNITED STATES OF AMERICA,                    )
                                                )
                                                )       Case No. 4:18-cr-00012
                                                )
   v.                                           )
                                                )
   DASHAWN ANTHONY, et al.,             \
                                                )
                                                )       By:    Michael F. Urbanski
           Defendants.                          )              United States District Judge

                                     SCHEDULING ORDER


           In order to protect the rights of the parties and ensure the timely and efficient trial of

   this large, complex criminal case, the following pretrial deadlines are established:


           1.     This case is set for trial for seven weeks to begin on January 13, 2020 in the

   first floor courtroom in Roanoke.

           2.     The government shall substantially complete all pretrial discovery by April1,

   2019.

           3.     The government shall identify its case-in-chief trial witnesses and provide

   digital copies of its trial exhibits to the clerk and defense counsel by August 9, 2019.

           4.     The government shall flle its proposed jury instructions and verdict form by

   August 23, 2019.

           5.     The defendants shall flle any objections to the government's proposed jury

   instructions and verdict form by September 6, 2019.




Case 4:18-cr-00012-MFU-RSB Document 209 Filed 12/06/18 Page 1 of 3 Pageid#: 712
          6.     The court will conduct pretrial hearings on the following dates and times in

   the flrst floor courtroom in Roanoke:

                 a. Friday, January 25, 2019 at 2 p.m. At this hearing, the court will address all

                      motions to sever and pretrial motions noticed by the parties. Pursuant to

                      Fed. R. Crim. P. 12(c)(3), absent good cause, the court will not address

                      pretrial any other motions to sever after this hearing.

                 b. Friday, April,    !2, 2019 at 2 p.m. At this hearing, the court will address the
                      composition of the jury and a proposed jury questionnaire and other

                      pretrial matters noticed by the parities.

                 c. Friday, June 7, 2019 at 2 p.m. At this hearing, the court will address any

                      motions to suppress and other pretrial matters noticed by the parties.

                      Pursuant to Fed. R. Crim. P. 12(c)(3), absent good cause, the court will not

                      address pretrial any motions to suppress after this hearing.

                 d. Friday, July 19,2019 at 2 p.m. At this hearing, the court will address any

                      motions to dismiss the indictment and other pretrial matters noticed by the

                      parties. Pursuant to Fed. R. Crim. P. 12(c)(3), absent good cause, the court

                      will not address pretrial any other motions to dismiss the indictment after

                      this hearing.

                 e. Friday, August 23, 2019 at 2 p.m. Additional pretrial conference.

                 f.   Friday, December 6, 2019 at 2 p.m. Additional pretrial conference.

                 g.   Friday, December 20, 2019 at 2 p.m. Final pretrial conference.




                                                    2

Case 4:18-cr-00012-MFU-RSB Document 209 Filed 12/06/18 Page 2 of 3 Pageid#: 713
          7.     All pretrial motions shall be flled by the parties no later than fourteen (14)

   days before the date set for hearing, pursuant to Fed. R. Crim. P. 12(c)(1). A motion must

   state the grounds on which it is based and the relief or order sought. Motions raising

   questions of law must be supported by legal memoranda flled contemporaneously therewith.

          8.     A party opposing a pretrial motion shall flle its response and legal

   memorandum no later than seven (7) days after the filing of the motion.

          9.     Should the parties wish to address any issues regarding the schedule of this

   case, they should contact the court's Courtroom Deputy Clerk Kristin Ayersman at

   K.ristina@vawd.uscourts.gov (540) 857-5153. Any other matters needing the court's

   attention may be directed to the court's Law Clerks David Kahan at

   Davidk@vawd.uscourts.gov (540) 857-5124 or Allison Bailey at

   Allisonbb@vawd.uscourts.gov (540) 857-5124.

          It is so ORDERED.


                                              Entered:   ~(~r-h.er             tf )     'd-,cz; \ B;
                                                                                                '




                                                  3

Case 4:18-cr-00012-MFU-RSB Document 209 Filed 12/06/18 Page 3 of 3 Pageid#: 714
